                   Case 4:11-cr-00162-REL-CFB Document 44 Filed 10/27/15 Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                      Southern District
                                                        __________      of Iowa
                                                                     District of __________

                    United States of America
                               v.                                          )
                        Anthony Lee Sims                                   )
                                                                           )    Case No: 4:11-cr-00162-001
                                                                           )    USM No: 13186-030
Date of Original Judgment:                              10/26/2012         )
Date of Previous Amended Judgment:                                         )    Joseph D. Herrold
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   ’ the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. ’ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           ’
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)


                                    United States Sentencing Guidelines Amendment 782

The defendant’s Guideline range was determined using the Chapter Four Career Offender
provisions, rather than the USSG §2D1.1 provisions, and the defendant was sentenced pursuant to
the Federal Rule of Criminal Procedure 11(c)(1)(C) plea agreement, whereby he waived any right to
seek a sentence reduction, pursuant to 18 U.S.C. § 3582(c)(2), in the event the relevant advisory
guidelines were made retroactive.




Except as otherwise provided, all provisions of the judgment dated                          10/26/2012              shall remain in effect.
IT IS SO ORDERED.

Order Date:                  10/27/2015
                                                                                                         Judge’s signature


Effective Date:              11/02/2015                                           Ronald E. Longstaff, Senior U.S. District Judge
                     (if different from order date)                                                    Printed name and title
